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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF KENTUCKY
                    SOUTHERN DIVISION at PIKEVILLE


JANET ARLENE BLACKBURN,                   )
                                          )
      Plaintiff,                          )         Civil No. 7:19-65-JMH
                                          )
v.                                        )
                                          )
KILOLO KIJAKAZI, Acting                   )                JUDGMENT
Commissioner of Social                    )
Security,                                 )
                                          )
      Defendant.                          )
                                          )
                           **   **   **       **    **
      In compliance with Rule 58 of the Federal Rules of Civil

 Procedure, and in accordance with Shalala v. Schaefer, 509 U.S.

 292, 296-302 (1993),

      IT IS ORDERED AND ADJUDGED that:

      (1)   This matter is REMANDED pursuant to sentence four of

            42    U.S.C.   §    405(g)        for   further   administrative

            proceedings;

      (2)   The   Commissioner’s      Motion        to   Remand   (DE   21)   is

            GRANTED; and

      (3)   This Action is DISMISSED and STRICKEN from the Court’s

            active docket.

     This the 27th day of September, 2021.
